Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 1 of 12 Page ID #:1



  1    Craig A. Hansen (SBN 209622)
          Email: craig@hansenlawfirm.net
  2    Sarah Wager (SBN 209277)
        Email: sarah@hansenlawfirm.net
  3    Bruno Tarabichi (SBN 215129)
        Email: bruno@hansenlawfirm.net
  4    HANSEN LAW FIRM, P.C.
       75 E. Santa Clara Street, Suite 1150
  5    San Jose, CA 95113
       Telephone: (408) 715-7980
  6    Facsimile: (408) 715-7001
  7    Attorneys for Plaintiff
       My Choice Software, LLC,
  8    a California limited liability company
  9
                              UNITED STATES DISTRICT COURT
 10
                            CENTRAL DISTRICT OF CALIFORNIA
 11

 12
       My Choice Software, LLC, a California        Case No. 8:22-cv-1710
 13
       limited liability company,                     COMPLAINT FOR:
 14
                       Plaintiff,
 15                                                    (1) VIOLATION OF THE
                  v.                                   CFAA
 16                                                    (2) VIOLATION OF CDAFA
 17    TaskUs, Inc. a Delaware corporation;            (3) NEGLIGENCE
       Tassilo Heinrich, an Individual;                (4) CONVERSION
 18    Shopify, Inc.; Shopify Holdings (USA),          (5) RECEIPT OF STOLEN
 19    Inc.; Shopify (USA) Inc.; and DOES 1-           PROPERTY
       50, inclusive,                                  (6) UNJUST ENRICHMENT
 20                                                    (7) CONSTRUCTIVE TRUST
                       Defendants.                     (8) ACCOUNTING
 21

 22                                                    DEMAND FOR JURY TRIAL
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      Complaint                                 1                    Case No.   8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 2 of 12 Page ID #:2



  1           Plaintiff My Choice Software, LLC (“MCS” or “Plaintiff”), by and through
  2   its attorneys, brings this case in the Central District of California pursuant to 28
  3   U.S.C. §§ 1331, and 1367, as this action involves claims arising under the
  4   Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030 and contains related
  5   California state law claims. For its Complaint in this action Plaintiff alleges:
  6                                      THE PARTIES
  7           1.    MCS is a California limited liability company with its principal place
  8   of business in Lake Forest, California.
  9           2.    Defendant TaskUs, Inc. (“TaskUs”) is a Delaware corporation with its
 10   principal place of business at 1650 Independence Drive, Suite 100, New Braunfels,
 11   Texas 78132. TaskUs is registered with the California Secretary of State and, on
 12   information and belief, had offices in Santa Monica, California.
 13           3.    Defendant Tassilo Heinrich is an individual who resides in Orange
 14   County, California.
 15           4.    Defendant Shopify, Inc. is a Canadian Corporation with offices at 151
 16   O’Connor Street, Ground Floor, Ottowa, Ontario K2P 2L8.
 17           5.    Defendant Shopify Holdings (USA), Inc. is a Delaware corporation
 18   with its principal place of business in the United States. Shopify Holdings (USA),
 19   Inc. acts as a holding company for all of Shopify Inc.’s US-based subsidiaries.
 20           6.    Defendant Shopify (USA) Inc. is a Delaware corporation with its
 21   principal place of business in Ottowa, Canada. It is a wholly owned subsidiary of
 22   Shopify, Inc. The Shopify entities had access to MCS’s data and failed to secure it
 23   or implement any security measures or even screening procedures to ensure that its
 24   agents, support representatives, and other individuals to whom Shopify entrusted
 25   the data would ensure secure handling of the data.
 26           7.    Upon information and belief, Shopify (USA) Inc. and Shopify
 27   Holdings (USA), Inc. are the functional equivalents of Shopify, Inc. because the
 28   two entities make no distinction between themselves in the public eye and use the
      Complaint                                   2                       Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 3 of 12 Page ID #:3



  1   same logos, trademarks, and websites, making it impossible to know the extent of
  2   any of the Shopify entities’ involvement in this data breach. Shopify, Inc.; Shopify
  3   Holdings (USA), Inc.; and Shopify (USA) Inc are referred to as the “Shopify
  4   Defendants.”
  5           8.    MCS is ignorant of the true names of the other Defendants sued herein
  6   as Does 1–50, inclusive, and therefore, sues these Doe Defendants by such
  7   fictitious names. The Doe Defendants are likely to include, among others, any
  8   additional individuals who directed, authorized, or participated in the unlawful
  9   conduct described in this Complaint, including two unknown employees of
 10   TaskUs. MCS will amend this Complaint to allege their true names and capacities
 11   when ascertained.
 12           9.    Each of the Defendants has participated in and is in some manner
 13   responsible for the acts described in this Complaint and the damage resulting
 14   therefrom.
 15                             JURISDICTION AND VENUE
 16           10.   This Court has subject matter jurisdiction of this action under 28
 17   U.S.C. §§ 1331, and 1367, as this action involves claims arising under the
 18   Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030, combined with
 19   related and supplemental state law claims.
 20           11.   Defendants are subject to personal jurisdiction in this district because
 21   Defendant TaskUs and the Shopify Defendants conducts substantial, continuous,
 22   and systematic activities in this judicial district, because Defendant Heinrich
 23   resides in Orange County, California, and because MCS’s causes of action
 24   contained herein arise out of or result from Defendants’ contacts with this judicial
 25   district, including Defendant Heinrich unlawfully accessing MCS’s protected
 26   computer and data remotely from Orange County, California.
 27           12.   Venue is proper in this judicial district pursuant to 28 U.S.C. §
 28   1391(a) because Defendant Heinrich resides in this judicial district. Venue is
      Complaint                                    3
                                                                          Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 4 of 12 Page ID #:4



  1   proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because a substantial
  2   part of the events or omissions giving rise to the claims occurred in this judicial
  3   district.
  4                         FACTS RELEVANT TO ALL CLAIMS
  5           13.    Shopify is an e-commerce platform for online stores that offers
  6   services to online merchants, including payments, marketing, shipping, and
  7   customer engagement tools.
  8           14. MCS uses Shopify as the platform for its online store.
  9           15. Plaintiff is informed and believes that Shopify hired defendant TaskUs
 10   to perform customer service work on the Shopify platform.
 11           16. In that capacity, TaskUs employees had access to Shopify’s internal
 12   network, which hosted MCS’s online store.
 13           17. Defendant TaskUs employees accessed and/or allowed other
 14   defendants, including but not limited to defendant Heinrich, to access Plaintiff’s
 15   online store’s protected computer and network without Plaintiff’s knowledge or
 16   authorization.
 17           18. Plaintiff is informed and believes that employees of defendant TaskUs,
 18   defendant Heinrich, and other defendants paid and/or received incentives
 19   (including payments in the form of cryptocurrency and/or false positive reviews) in
 20   exchange for access to Plaintiff’s protected computer and network on the Shopify
 21   platform.
 22           19. On September 18, 2020 Shopify notified Plaintiff that its online store
 23   was compromised through a data breach. The notice specifically stated that the
 24   information accessed did not include sensitive customer personal or financial
 25   information.
 26           20. Shopify limited the information it was willing to disclose to Plaintiff
 27   about the breach. Shopify claimed this was due to an ongoing criminal
 28   investigation.
      Complaint                                   4                   Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 5 of 12 Page ID #:5



  1           21. Plaintiff eventually obtained a security incident report from Shopify
  2   with an event log. The event log indicated on July 16, 2020 an unknown person(s)
  3   installed a “private application” on MCS’s protected computer and network on the
  4   Shopify platform. The application issued a command to export all of MCS’s order
  5   reports. Three hours later the “private application” was uninstalled and removed
  6   from MCS’s protected computer and network on the Shopify platform.
  7           22. Plaintiff is informed and believes that Defendants installed the “private
  8   application” to steal and use the stolen data for their personal benefit, including by
  9   selling MCS’s data to others who would use the data in order to commit fraud.
 10           23. Plaintiff is informed and believes that at least one dark web vendor was
 11   offering to sell merchant data belonging to MCS. Plaintiff is informed and believes
 12   that Defendants sold and/or caused to be sold MCS’s stolen information on the
 13   dark web.
 14           24. On February 19, 2021 defendant Heinrich was indicted by a federal
 15   grand jury in connection with the Shopify data breach for stealing information
 16   from Shopify vendors. The indictment describes Heinrich’s conduct and the
 17   conduct of the non-indicted co-conspirators. While majority of the criminal case is
 18   under seal, Heinrich plead guilty on February 25, 2022.
 19           25. Plaintiff is informed and believes that defendant Heinrich’s indictment
 20   includes and relates to conduct involving the theft, sale and use of MCS’s data
 21   from its protected computer and network on the Shopify platform.
 22           26. Plaintiff is informed and believes that the unnamed “co-conspirators”
 23   described in the indictment were employees of defendant TaskUs.
 24           27. Plaintiff is informed and believes that the co-conspirator TaskUs
 25   employees were not indicted by a U.S. grand jury because they reside in foreign
 26   countries.
 27
        FIRST CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS EXCEPT
 28                      THE SHOPIFY ENTITIES

      Complaint                                   5                         Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 6 of 12 Page ID #:6



  1           VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT
                            UNDER 18 U.S.C. § 1030
  2
              28.    Paragraphs 1-27, above, are realleged and incorporated by reference
  3
      as if set forth in full.
  4
              29.    Defendants knowingly and intentionally accessed and allowed others
  5
      to access Plaintiff’s protected computer and through the Shopify platform without
  6
      authorization with the intent to defraud. This access was unauthorized and/or
  7
      exceeded any authorized access.
  8
              30.    Defendants installed a malicious private application on Plaintiff’s
  9
      protected computer.
 10
              31.    Defendants issued a command through the malicious private
 11
      application to extract and caused to be extracted protected MCS merchant data.
 12
              32.    Defendants deleted the malicious private application attempting to
 13
      conceal its use.
 14
              33.    As a result of Defendants unauthorized access to MCS’s protected
 15
      computer and extraction of protected data MCS has been damaged. The losses to
 16
      MCS well exceed $5,000.
 17
              34.    MCS is also entitled to injunctive relief and any other equitable relief
 18
      that the Court deems just and proper.
 19

 20
      SECOND CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS EXCEPT
                       THE SHOPIFY ENTITIES
 21       CALIFORNIA COMPUTER DATA ACCESS AND FRAUD ACT
                        CAL. PENAL CODE § 502
 22
              35.    Paragraphs 1-34, above, are realleged and incorporated by reference
 23
      as if set forth in full.
 24
              36.    Defendants knowingly and without permission provided or assisted in
 25
      providing a means of accessing and/or accessed or caused to be accessed MCS’s
 26
      computer, computer system, or computer network through the Shopify platform.
 27
      This access was unauthorized and/or exceeded any authorized access.
 28

      Complaint                                    6
                                                                            Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 7 of 12 Page ID #:7



  1           37.   Defendants knowingly introduced a computer contaminant into a
  2   computer, computer system, or computer network by installing, commanding and
  3   deleting a malicious private application on MCS’s protected computer and
  4   network.
  5           38.   By installing the malicious application Defendants knowingly and
  6   without permission disrupted or caused the disruption of computer services to
  7   MCS.
  8           39.   Defendants knowingly accessed and without permission altered,
  9   damaged, deleted, destroyed, or otherwise used Plaintiff’s data, computer,
 10   computer system, or computer network in order to devise or execute their scheme
 11   or artifice to defraud, deceive, or extort.
 12           40.   Defendants knowingly accessed and without permission altered,
 13   damaged, deleted, destroyed, or otherwise used Plaintiff’s data, computer,
 14   computer system, or computer network in order to wrongfully control or obtain
 15   money, property, or data belonging to MCS.
 16           41.   Defendants knowingly accessed and without permission took, copied,
 17   or made use of merchant data from MCS’s computer, computer system, and/or
 18   computer network.
 19           42.   As a result of Defendants unauthorized access to MCS’s protected
 20   computer and extraction of protected data MCS is entitled to compensatory
 21   damages.
 22           43.   MCS is also entitled to reasonable attorneys’ fees, injunctive relief,
 23   and any other equitable relief that the Court deems just and proper.
 24           44.   Defenants willfully violated this statute, and Defendants’ actions were
 25   oppressive, fraudulent and malicious, and therefore Plaintiff is entitled to punitive
 26   or exemplary damages under California Penal Code § 502(e)(4).
 27    THIRD CLAIM FOR RELIEF – ALL DEFENDANTS EXCEPT HEINRICH
 28                                      NEGLIGENCE
      Complaint                                     7
                                                                          Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 8 of 12 Page ID #:8



  1           45.    Paragraphs 1-44, above, are realleged and incorporated by reference
  2   as if set forth in full.
  3           46.    Upon Defendants’ acceptance and storage of MCS’s information in
  4   their computer systems and on their networks, Defendants undertook and owed a
  5   duty to MCS to, among other things, exercise reasonable care to secure and
  6   safeguard that information and to use commercially reasonable methods to do so.
  7   Defendants knew MCS’s information was private and confidential and should be
  8   protected as private and confidential.
  9           47.    Defendants breached their duty to MCS to adequately protect and
 10   safeguard MCS’s information by disregarding standard information security
 11   principles, despite obvious risks, and by allowing unmonitored and unrestricted
 12   access to unsecured information. Furthering their dilatory practices, Defendants
 13   failed to provide adequate supervision and oversight of the information with which
 14   they were entrusted, in spite of the known risk and foreseeable likelihood of
 15   compromise and misuse, which permitted malicious TaskUs employees to gather
 16   MCS’s information and intentionally disclose it to others without consent, resulting
 17   in its fraudulent misuse.
 18           48.    As a direct and proximate result of Defendants’ conduct, MCS has
 19   suffered damages in an amount to be proven at trial.
 20          FOURTH CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS
 21                              EXCEPT THE SHOPIFY ENTITIES
 22                                      CONVERSION
 23           49.    Paragraphs 1-47, above, are realleged and incorporated by reference
 24   as if set forth in full.
 25           50.    MCS had a right to exclusively possess its merchant data stored on its
 26   protected computer and network from MCS’s online store on the Shopify platform.
 27

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      Complaint                                   8
                                                                        Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 9 of 12 Page ID #:9



  1           51.    Defendants intentionally and substantially interfered with MCS’s
  2   property by stealing, selling and using Plaintiff’s data unlawfully taken from its
  3   online store on the Shopify platform.
  4           52.    As a direct and proximate result of Defendants’ conversion, MCS has
  5   suffered, and will continue to suffer, severe and irreparable damage including, but
  6   not limited to, the ability to use and control the use of its merchant data.
  7           53.    Because the conversion was the result of a theft MCS is entitled to
  8   treble damages, costs of the suit and attorneys’ fees.
  9           54.    Because Defendants conversion of MCS’s property was done with
 10   oppression, fraud or malice, Plaintiff is entitled to an award of punitive damages.
 11     FIFTH CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS EXCEPT
 12                                 THE SHOPIFY ENTITIES
 13                              RECEIPT OF STOLEN PROPERTY
 14                                 CAL. PENAL CODE § 496
 15           55.    Paragraphs 1-54, above, are realleged and incorporated by reference
 16   as if set forth in full.
 17           56.    Defendants stole, bought, received and sold property belonging to
 18   MCS.
 19           57.    Defendants’ theft consisted of acts including but not limited to
 20   unlawfully accessing, downloading, selling and using MCS’s merchant data
 21   without MCS’s knowledge or permission.
 22           58.    As a result of Defendants’ theft and receipt of MCS’s stolen property
 23   MCS has been harmed.
 24           59.    Defendants’ illegal theft and receipt of stolen property entitles MCS to
 25   an award of treble damages, costs of the suit and attorneys’ fees.
 26                 SIXTH CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS
 27                              EXCEPT THE SHOPIFY ENTITIES
 28                                    UNJUST ENRICHMENT
      Complaint                                    9                       Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 10 of 12 Page ID #:10



   1           60.    Paragraphs 1-59, above, are realleged and incorporated by reference
   2   as if set forth in full.
   3           61.    Defendants received and retained a benefit from stealing, selling and
   4   using Plaintiff’s merchant data unlawfully taken from its online store on the
   5   Shopify platform, which caused Defendants to become unjustly enriched.
   6           62.    As a result of Defendants’ conduct, MCS is entitled to receive an
   7   award in the amount that Defendants have been unjustly enriched, in an amount to
   8   be proven at trial.
   9         SEVENTH CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS
  10                              EXCEPT THE SHOPIFY ENTITIES
  11                     IMPOSITION OF A CONSTRUCTIVE TRUST
  12           63.    Paragraphs 1-62, above, are realleged and incorporated by reference
  13   as if set forth in full.
  14           64.    By virtue of Defendants’ wrongful and conduct, Defendants have
  15   illegally received money and profits rightfully belong to MCS.
  16           65.    Upon information and belief, Defendants hold the illegally received
  17   money, profits, and merchant datain a manner that can be located and traced
  18   necessitating that they be held in constructive trust for the benefit of Plaintiff.
  19   EIGHTH CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS EXCEPT
  20                                 THE SHOPIFY ENTITIES
  21                                      ACCOUNTING
  22           66.    Paragraphs 1-65, above, are realleged and incorporated by reference as
  23   if set forth in full.
  24           67.    Defendants stole, sold and used MCS’s confidential merchant data in
  25   ways that are not currently known to Plaintiff, but believed to include profits
  26   associated with stealing the information itself, profits from selling the stolen
  27   information and profits from using the stolen information to divert consumers
  28   away from MCS’s website to competing sites.
       Complaint                                    10
                                                                           Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 11 of 12 Page ID #:11



   1           68.   Because of the complexity of the transactions and in numerous forms
   2   a balance is due from Defendants to MCS that can only be ascertained by an
   3   accounting.
   4
                                        PAYER FOR RELIEF

   5
       WHEREFORE, Plaintiff pray for judgment against Defendants as follows:
   6
               1.    For a compensatory damages;
   7
               2.    For treble damages;
   8
               3.    For an award of punitive damages;
   9
               4.    For imposition of a constructive trust;
  10
               5.    For injunctive relief;
  11
               6.    For restitution;
  12
               7.    For an accounting;
  13
               8.    For costs of suit, including reasonable attorneys’ fees; and
  14
               9.    For such other and further relief as the court may deem just and
  15
       proper.
  16

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  18
        DATED: September 16, 2022                       HANSEN LAW FIRM, P.C.
  19
                                                         /s/ Craig A.Hansen, Esq.
  20                                                    CRAIG ALAN HANSEN
                                                        SARAH WAGER
  21                                                    BRUNO TARABICHI
                                                        Attorney for Plaintiff
  22                                                    My Choice Software, LLC,
                                                        a California limited liability company
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       Complaint                                   11                        Case No. 8:22-cv-1710
Case 8:22-cv-01710-DOC-DFM Document 1 Filed 09/16/22 Page 12 of 12 Page ID #:12



   1                             DEMAND FOR JURY TRIAL
   2

   3           MCS hereby demands a trial of all claims by jury to the extent authorized by
   4   law.
   5

   6
        DATED: September 16, 2022                      HANSEN LAW FIRM, P.C.
   7
                                                        /s/ Craig .A. Hansen, Esq.
   8                                                   CRAIG ALAN HANSEN
                                                       SARAH WAGER
   9                                                   BRUNO TARABICHI
                                                       Attorney for Plaintiff
  10                                                   My Choice Software, LLC,
                                                       a California limited liability company
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       Complaint                                  12                         Case No. 8:22-cv-1710
